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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              ) Criminal No. 08-000327-002-CG
                                                 )
 JASON R. KELLEY,                                )
                                                 )
                       Defendant.                )


                                             ORDER


        This matter is before the court on defendant’s renewed motion for judgment of acquittal

 (Doc. 657) and the government’s response (Doc. 677) and the defendant’s reply (Doc. 692). The

 court has carefully considered the grounds raised in the motion, and has concluded that the

 verdicts are supported by the weight of the evidence. Accordingly, the motion is DENIED.

        DONE and ORDERED this 24th day of September, 2010.


                                                     /s/ Callie V. S. Granade
                                                     UNITED STATES DISTRICT JUDGE
